

People v Contreras (2024 NY Slip Op 03549)





People v Contreras


2024 NY Slip Op 03549


Decided on June 27, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 27, 2024

Before: Webber, J.P., Gesmer, Kennedy, Rosado, O'Neill Levy, JJ.


Ind. No. 282/19 Appeal No. 2557 Case No. 2019-4495 

[*1]The People of The State of New York, Respondent, 
vVincente Contreras, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Anju Alexander of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Kalani A. Browne of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Bahaati, Pitt, J.), rendered March 18, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 27, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








